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1                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
2
                                 OAKLAND DIVISION
3
4    EPIC GAMES, INC.,                               Case No.: 4:20-CV-05640-YGR-TSH
                   Plaintiff, Counter-Defendant,     Judge: Hon. Yvonne Gonzalez Rogers
5
                                                     Hearing Date: April 30, 2024
6    v.                                              Hearing Time: 2:00 p.m.
                                                     Courtroom: 1, 4th Floor
7    APPLE INC.,
8                  Defendant, Counterclaimant.       [PROPOSED] ORDER GRANTING
                                                     LEAVE TO FILE BRIEF AS AMICUS
9
                                                     CURIAE
10
                  The Court, having considered the motion of Digital Content Next for leave
11
     to file a brief as Amicus Curiae in support of Epic Games, Inc.’s Motion to Enforce
12
     Injunction, IT IS HEREBY ORDERED that the motion is GRANTED. Digital Content
13
     Next shall file its brief as Amicus Curiae upon entry of this Order.
14
15
16    Dated: _______________, 2024

17                                                  Hon. Yvonne Gonzalez Rogers
18                                                  United States District Court

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          [PROPOSED] ORDER GRANTING LEAVE TO FILE BRIEF AS AMICUS CURIAE
                                            Case No. 4:20-CV-05640-YGR-TSH
